            Case 1:21-cr-00029-TSC Document 22 Filed 01/14/22 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                           :
 UNITED STATES OF AMERICA                  :      Case No: 21-cr-29 (TSC)
                                           :
         v.                                :
                                           :      18 U.S.C. § 1361
 HUNTER EHMKE,                             :
                                           :
         Defendant.                        :
                                           :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Hunter Ehmke, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

                                                 1
             Case 1:21-cr-00029-TSC Document 22 Filed 01/14/22 Page 2 of 5




Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd




                                           Page 2 of 5
            Case 1:21-cr-00029-TSC Document 22 Filed 01/14/22 Page 3 of 5




encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.


                  Ehmke’s Participation in the January 6, 2021, Capitol Riot

       8.      At approximately 2:15 p.m., the defendant, Hunter Ehmke, was part of a large

crowd outside the Rotunda Door on the East side of the Capitol Building. Ehmke jumped up onto

a window ledge of a window that has multiple panes and leads to an office inside the Building.

Ehmke, using his right foot, kicked-in the three lower panes of the window, shattering them. Then,

using his right fist, Ehmke smashed two additional windowpanes. Ehmke was tackled by officers

of the United States Capitol Police, who detained him on the ground of the Capitol Terrace below

the window.

       9.      Officers obtained Ehmke’s California driver’s license and positively identified him.

Although officers attempted to arrest Ehmke at that time, the crowd became increasingly


                                            Page 3 of 5
           Case 1:21-cr-00029-TSC Document 22 Filed 01/14/22 Page 4 of 5




aggressive and outnumbered the officers. Officers took photos of Ehmke and the damaged window

and advised him that they would seek a warrant for his arrest. Ehmke was told to immediately

leave the Capitol Grounds. Officers maintained custody of Ehmke’s driver’s license upon his

release.

       10.    The Architect of the Capitol has estimated that cost of the damage to the five broken

windowpanes is $2,821. The window is property of the United States.



                                                    Respectfully submitted,
                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                            By:     __________________________________
                                                    Dineen A. Baker
                                                    D.C. Bar No. 487820
                                                    Assistant United States Attorney




                                           Page 4 of 5
Case 1:21-cr-00029-TSC Document 22 Filed 01/14/22 Page 5 of 5




12/27/21
